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           Exhibit 36 -Government Parties Flow of Funds Chart Page 1 of 6




                            EXHIBIT 36
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           Exhibit 36 -Government Parties Flow of Funds Chart Page 2 of 6



 March 21, 2020

 VIA E-MAIL

 Gaspard Rappoport                              John Hughes, III
 Kelly DiBlasi                                  Atara Miller
 Gabriel Morgan                                 Grant Mainland
 Gregory Silbert                                MILBANK LLP
 Reed Collins                                   55 Hudson Yards
 WEIL, GOTSHAL & MANGES LLP                     New York, New York 10001
 767 Fifth Avenue
 New York, New York 10153

 Howard Hawkins                                 Jason Callen
 Mark Ellenberg                                 Martin Sosland
 William Natbony                                BUTLER SNOW LLP
 Casey Servais                                  5430 Lyndon B. Johnson Freeway, Suite 1200
 CADWALADER, WICKERSHAM & TAFT LLP              Dallas, Texas 75240
 200 Liberty Street                             1530 3rd Avenue South, Suite 1600
 New York, New York 10281                       Nashville, Tennessee 37201

 Re:    In re Fin. Oversight & Mgmt. Bd., No. 17-BK-3283-LTS – Discovery on Lift Stay
        Motions – PRIFA Flow of Funds Summary

 Counsel:

 Attached please find a document summarizing the general flow of funds for rum tax revenues
 for PRIFA from January 2014 to present. This document is not intended to replace sworn
 deposition testimony and reflects our understanding of the documents our clients have
 produced in these proceedings; the documents themselves control. We are providing this in the
 interest of cooperation and as an aid in advance of the upcoming 30(b)(6) deposition to help
 Movants understand the flow of funds during the relevant time period. Please note that the
 slides do not show all inflows and outflows from each identified account in addition to the
 retained revenues.

 We reserve the right to modify or amend this document to the extent necessary. We will be
 producing similar documents for the flow of funds for Hotel Taxes and Excise Taxes and Toll
 Revenues shortly.

 Sincerely,

 /s/ Elizabeth L. McKeen                     /s/ Michael Mervis

 Elizabeth L. McKeen                         Michael Mervis
          Case:17-03283-LTS Doc#:12998-12 Filed:04/30/20 Entered:04/30/20 11:40:24         Desc:
                     Exhibit 36 -Government Parties Flow of Funds Chart Page 3 of 6




Puerto Rico Infrastructure Finance Authority (“PRIFA”)
Rum Excise Taxes: Flow of Funds


This presentation is intended to illustrate the flow of rum excise taxes from January 2014 to present. In
doing so, the illustrations do not show all inflows and outflows from each account presented in cases
where retained revenues are comingled with other funds in the same bank account.
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                        Exhibit 36 -Government Parties Flow of Funds Chart Page 4 of 6




Rum Taxes – January 2014 to June 2015




  U.S. Treasury
   Rum Taxes



                      $1M on 7/16/14

                      $1M on 10/24/14
     DTPR                                      PRIFA
   GDB -0006          $1M on 1/26/15         GDB -0704

                      $1M on 4/6/15




     PRIFA                                    US Bank
   GDB -1891                                   -0002




Footnotes:
   Account contains comingled funds (rum taxes and others).
   Denotes a discrete, one-time transfer
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                        Exhibit 36 -Government Parties Flow of Funds Chart Page 5 of 6




Rum Taxes – July 2015 to March 2016




  U.S. Treasury
   Rum Taxes


                                                                                      DTPR                                  DTPR
                                                                                    GDB -6048                             GDB -0006




                                                              $1M on 8/25/15


                                               DTPR           $1M on 11/16/15
    Citi Bank                                                                         PRIFA
      -9028                                  GDB -0006                              GDB -0704
                                                              $1M on 1/19/16




                                                                                                                      GO Debt Service1



Footnotes:
   Account contains comingled funds (rum taxes and others).
   Denotes a discrete, one-time transfer
1 Transfers from the TSA Operational Account to fund GO Debt Service included comingled rum excise tax receipts with proceeds from other
retained revenues.
              Case:17-03283-LTS Doc#:12998-12 Filed:04/30/20 Entered:04/30/20 11:40:24             Desc:
                         Exhibit 36 -Government Parties Flow of Funds Chart Page 6 of 6




Rum Taxes – April 2016 to Present




    U.S. Treasury
     Rum Taxes




     Citi Bank                                  DTPR1          $1M on 5/23/16           PRIFA
       -9028                                  BPPR -9458                              BPPR -2882




Footnotes:
     Account contains comingled funds (rum taxes and others)
     Denotes a discrete, one-time transfer
1    After May 2016, fund flow of retained revenues stops at the BPPR -9458 account

                                                                                                           4
